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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :              10/16/2020
UNITED STATES OF AMERICA,                                              :
                                                                       :
                                    Plaintiff,                         :
                                                                       :     20-CV-5189 (JPC)
                  -v-                                                  :
                                                                       :    EXTENSION ORDER
$12,860.00 IN UNITED STATES CURRENCY,                                  :
                                                                       :
                                    Defendant-in-Rem.                  :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        This case has been reassigned to the undersigned. All counsel must familiarize themselves

with the Court’s Individual Rules, which are available at https://www.nysd.uscourts.gov/hon-

john-p-cronan.

        The Court is in receipt of Mr. Bouyagian’s letter, requesting “additional time to gather

relevant documentation and sworn depositions” (Dkt. 6), and the Government’s letter dated October

8, 2020, consenting to a “reasonable extension of the October 15, 2020 deadline for Mr. Bouyagian

to potentially assert a claim in this matter.” (Dkt. 8). The Court hereby orders that the deadline for

Mr. Bouyagian to file a claim asserting an interest in the Defendant-in-rem is extended to November

30, 2020.



        SO ORDERED.

Dated: October 16, 2020                                    __________________________________
       New York, New York                                           JOHN P. CRONAN
                                                                  United States District Judge
